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                13   Attorneys for Plaintiff
                     Tesla, Inc.
                14

                15                                UNITED STATES DISTRICT COURT

                16                                       DISTRICT OF NEVADA

                17

                18   TESLA, INC., a Delaware corporation,

                19                   Plaintiff,
                                                                         CERTIFICATE OF INTERESTED
                20             vs.                                       PARTIES

                21   MARTIN TRIPP, an individual,

                22                   Defendant.

                23

                24             Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-1, the undersigned

                25   attorneys of record for Plaintiff Tesla, Inc. (“Tesla”) certify that Tesla has no parent corporation;

                26   that to Tesla’s knowledge, no public corporation owns more than 10% of its stock; and

                27   that to Tesla’s knowledge, there are no unnamed parties with a direct, pecuniary interest in the

                28   outcome of the case.

JACKSON LEWIS P.C.
    LAS VEGAS
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                               Case 2:18-cv-01088 Document 2 Filed 06/20/18 Page 2 of 2



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                2    Dated: June 19, 2018                    JACKSON LEWIS P.C.

                3

                4                                            By: /s/ Joshua A. Sliker
                                                                 Joshua A. Sliker
                5                                                Attorneys for Plaintiff
                                                                 Tesla, Inc.
                6

                7

                8    Dated: June 19, 2018                    HUESTON HENNIGAN LLP

                9

               10                                            By: /s/ John C. Hueston
                                                                 John C. Hueston (pro hac vice
               11                                                forthcoming)
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               12                                                Tesla, Inc.
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